Case 1:22-cv-00125-AMD-RML Document 9-1 Filed 01/14/22 Page 1 of 2 PageID #: 159



                       INITIAL CONFERENCE QUESTIONNAIRE

 CASE NAME:                                                  DOCKET NO.:

 1.    Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal
       Rules of Civil Procedure, if not yet made:

 2.    If additional interrogatories beyond the 25 permitted under Rule 33(a) of the Federal
       Rules of Civil Procedure are needed, the maximum number by:
        plaintiff(s)      and defendant(s)

 3.    Maximum number of requests for admission by: plaintiff(s)          and defendant(s)

 4.    Number of depositions by plaintiff(s) of parties        non-parties

 5.    Number of depositions by defendant(s) of: parties            non-parties

 6.    Time limits for depositions:

 7.    Date for completion of factual discovery:

 8.    Number of expert witnesses of plaintiff(s):        medical          non-medical

              Date for expert report(s):

 9.    Number of expert witnesses of defendant(s):         medical           non-medical

              Date for expert report(s):

 10.   Date for completion of expert discovery:

 11.   Time for amendment of the pleadings by plaintiff(s)                          or by
       defendant(s)

 12.   Number of proposed additional parties to be joined by plaintiff(s)         and by defendant(s)
       and time for completion of joinder:

 13.   Types of contemplated dispositive motions: plaintiff(s):                      defendant(s):

 14.   Dates for filing contemplated dispositive motions: plaintiff(s):
       defendant(s): ___________
Case 1:22-cv-00125-AMD-RML Document 9-1 Filed 01/14/22 Page 2 of 2 PageID #: 160



 15.    Have counsel reached any agreements regarding electronic discovery? If so, please
        describe at the initial conference.

 16.    Will the parties *consent to trial before a magistrate judge pursuant to 28 U.S.C. §636?
        (Answer no if any party declines to consent without indicating which party has declined.)
                Yes        No

 17.    This case should be ordered to arbitration at the close of discovery __________ (yes/no)

 18.    This case should be ordered to mediation (now or at a later date) _______(yes/no)
         (Prior to the Initial Conference, counsel shall discuss with their clients and their adversaries whether
        arbitration or mediation is appropriate in this case and be prepared to explain their reasons to the court)




 * The fillable consent form AO 85 may be found at
 https://www.nyed.uscourts.gov/forms/allforms/general_forms and may be filed electronically
 upon completion prior to the initial conference, or brought to the initial conference and
 presented to the Court for processing.
